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                                 No. 23-55276

                  UNITED STATES COURT OF APPEALS
                      FOR THE NINTH CIRCUIT
                              ________________
    LANCE BOLAND, MARIO SANTELLAN, RENO MAY, JEROME SCHAMMEL, and
    CALIFORNIA RIFLE & PISTOL ASSOCIATION, INC., a California corporation,
                                                    Plaintiffs-Appellees,
                                        v.
                     ROB BONTA, in his official capacity as
                   Attorney General of the State of California,
                                                    Defendant-Appellant.
                                   DOES 1-10,
                                                    Defendant.
                              ________________
                 On Appeal from the United States District Court
                      for the Central District of California
                         No. 8:22-cv-01421-CJC-ADS
                               ________________
                  APPELLEES’ SUPPLEMENTAL BRIEF
                         ________________
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April 17, 2025
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                                 INTRODUCTION

      Shortly after the Supreme Court made clear in Bruen that the right to keep and

bear arms is not second-class, Plaintiffs filed this lawsuit challenging the most recent

amendments to California’s now-inaptly named Unsafe Handgun Act (“UHA”),

which forecloses the sale of most handgun models that have come on the market

over the past decade-plus. After extensive briefing and an evidentiary hearing with

live witness testimony, the district court granted a preliminary injunction, concluding

that the UHA’s prohibition on the manufacture, import, and sale of any new handgun

without a chamber load indicator (“CLI”), magazine disconnect mechanism

(“MDM”), and “microstamping” technology—features no commercially available

handgun currently has all of, and few have any of—likely violates the Second

Amendment. California then appealed, and the parties briefed and argued the case,

after which this Court held the appeal in abeyance pending Duncan v. Bonta, No. 23-

55805.

      One year later, a divided en banc panel issued its decision in Duncan. As

relevant here, the en banc panel held that, while the Second Amendment protects a

“broad range of arms,” “large-capacity magazines” do not come within the coverage

of the plain text of the Amendment because they are “accoutrements,” not “arms.”

2025 WL 867583, at *7-10 (9th Cir. Mar. 20, 2025). Duncan further held, after

“assum[ing]” that the plaintiffs’ proposed conduct of possessing and using such
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magazines falls within the plain text of the Second Amendment, that banning “large-

capacity magazines” is consistent with a purported tradition of “protecting innocent

persons by restricting a component necessary to the firing of a firearm and by

restricting especially dangerous uses of weapons” by criminals. Id. at *7, 10-22.

      To the extent Duncan is relevant here, it supports affirming the district court’s

well-reasoned decision. First and foremost, handguns are obviously “‘Arms’ within

the meaning of the Second Amendment,” not mere “accoutrements.” Contra id. at

*7-8. Duncan held that “[a] large-capacity magazine … cannot reasonably be

described” either “as an item that a person ‘takes into his hands, or useth in wrath to

cast at or strike another’” or “as a ‘weapon[]’” “by itself.” Id. at *9 (quoting District

of Columbia v. Heller, 554 U.S. 570, 581 (2008)). But the Supreme Court has been

explicit that handguns are exactly that—indeed, that “handguns are the most popular

weapon chosen by Americans for self-defense in the home.” Heller, 554 U.S. at

629; see also N.Y. State Rifle & Pistol Ass’n, Inc. v. Bruen, 597 U.S. 1, 32 (2022)

(“handguns are weapons ‘in common use’ today for self-defense”). And Duncan

was clear that “we must respect the Founders’ choice to protect the right to bear a

broad range of arms.” 2025 WL 867583, at *10. Neither Duncan’s threshold-textual

holding about “large capacity magazines” nor its discussion of “[t]he proper inquiry

for an item that is not an arm itself,” id. (emphasis added), alters the conclusion that

the conduct restricted by California’s Unsafe Handgun Act—which regulates



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handguns alone, and has had the effect of rendering unlawful virtually every

handgun released on the commercial market since 2013—“fall[s] within the plain

text of the Second Amendment.” Id. at *9.

      Duncan likewise provides no basis to disturb the district court’s conclusion

that the UHA is likely inconsistent with historical tradition. Duncan “discern[ed]

two distinct traditions” relevant to its analysis: “laws seeking to protect innocent

persons from infrequent but devastating harm by regulating a component necessary

to the firing of a firearm”; and “laws [enacted] to protect innocent persons from

especially dangerous uses of weapons once those perils have become clear.” Id. at

*17. The UHA does not fit within either. It does not attack some discrete feature of

handguns associated with “infrequent but devastating harm.” It instead restricts the

sale of most new handguns, on the theory that handguns are too “unsafe” unless

modified to contain a combination of features virtually no handgun has. Duncan

does not purport to identify any tradition that would justify banning handguns writ

large. As for the second “tradition[]” Duncan “discern[ed],” the CLI and MDM

requirements operate to “keep out of [the people’s] hands virtually all new, state-of-

the-art handguns,” thereby undermining public safety. 1-ER-17. And the state has

never argued that the microstamping requirement can be justified as a “safety”

measure. 1-ER-19. Nor has the state ever identified any other historical tradition




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that would allow it to deem virtually every new handgun too “unsafe” (at least for

ordinary citizens; most state employees are free to buy these handguns at will).

      In short, after Duncan as before it, the district court’s conclusion remains

correct: The UHA likely violates the Second Amendment. This Court should affirm.

                                    ARGUMENT

I.    Duncan Confirms That The Challenged Provisions Regulate Conduct
      Covered By The Second Amendment’s Plain Text.

      Under Heller, Bruen, Rahimi, and now Duncan, the threshold inquiry here is

straightforward. The Second Amendment “‘extends, prima facie, to all instruments

that constitute bearable arms, even those that were not [yet] in existence’” “at the

founding.” United States v. Rahimi, 602 U.S. 680, 691 (2024) (alteration in original)

(quoting Heller, 554 U.S. at 582); accord Bruen, 597 U.S. at 28. The challenged

provisions generally prohibit Californians from acquiring state-of-the-art handguns.

And, to state the obvious, handguns are “‘Arms’ within the meaning of the Second

Amendment,” not mere “accoutrements.” See Duncan, 2025 WL 867583, at *7-8.

      Neither Duncan’s holding that “large-capacity magazines” are not “arms

themselves,” id. at *7, nor its discussion of “[t]he proper inquiry for an item that is

not an arm itself,” id. at *10, undermines the conclusion that the conduct the UHA

restricts “fall[s] within the plain text of the Second Amendment,” id. at *9. After all,

handguns are not “accessories to firearms”; they are firearms, i.e., “weapons

themselves, referred to as ‘arms.’” Id. at *7-8; see also Heller, 554 U.S. at 629


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(“[T]he handgun [is] the quintessential self-defense weapon[.]”). And as Duncan

went out of its way to underscore, “we must respect the Founders’ choice to protect

the right to bear a broad range of arms.” 2025 WL 867583, at *10; see also id. at *8

(“The meaning of ‘Arms’ thus broadly includes nearly all weapons used for armed

self-defense.”). That should be the end of the threshold-textual inquiry.

      It makes no difference that the challenged UHA provisions focus on whether

handguns contain particular features. The state has never argued that a handgun that

lacks the bespoke features the UHA demands somehow ceases to be a handgun—

nor could it, when the UHA itself still refers to them as “handguns.” Nor, unlike the

law in Duncan, does the UHA target a component for which there is a readily

available commercial alternative. The law instead operates to “keep out of [the

people’s] hands virtually all new, state-of-the-art handguns.” 1-ER-17. In fact,

despite what its name might suggest, the Unsafe Handgun Act has operated to

prevent Californians from acquiring the safest handguns available in the rest of the

country, including most “fully ambidextrous configuration of critical firearm

controls” that make firearms safer for left-handed shooters. 1-ER-10. To hold that

a law that prevents people from having the safest handguns does not implicate the

Second Amendment would render the right to keep and bear arms a dead letter. And

to hold that a state may require people to have arms equipped with things they do




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not want (and, in the case of microstamping, do not even exist)1 would transform a

right belonging to the governed into a prerogative of the government.

       To be sure, the UHA does not prohibit possessing a purportedly “unsafe”

handgun; it prohibits only their manufacture and sale by a licensed firearms dealer.

See Cal. Penal Code §§28050, 32110; 1-ER-9. But as this Court made clear in

Teixeira v. County of Alameda, 873 F.3d 670 (9th Cir. 2017) (en banc), “a general

regulation of firearms purchasing … restrict[s] conduct covered by the plain text of

the Second Amendment.” Yukutake v. Lopez, 130 F.4th 1077, 1091 (9th Cir. 2025)

(emphasis omitted); see Teixeira, 873 F.3d at 678. Duncan re-affirmed that holding,

explaining that “[t]he scope of the Second Amendment is broad in [this] sense as

well”: In addition to the explicit rights to keep and bear arms, “the Amendment’s

text … carr[ies] an implicit, corollary right” “to acquire” them. 2025 WL 867583,

at *8; see also Yukutake, 130 F.4th at 1090 (“[T]he right to ‘possess’ a firearm—

which Bruen recognized is protected by the plain text of the Second Amendment—

includes within it the right to take possession of a firearm, i.e., to acquire one.”).

       Duncan also confirms that—besides being unrealistic—the state’s parade of

horribles, Reply.4-9, is not a plain-text consideration. Zoning laws that restrict the

right to keep and bear arms certainly implicate the Second Amendment, but they will



   1
    After oral argument, California (again) amended the UHA, this time to postpone
the microstamping requirement’s effective date to January 1, 2028. See Dkt.76.


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often (though not always) be rooted in this Nation’s history of firearm regulation and

so pass constitutional muster. The same is true of quality-control or product-liability

laws that prohibit the sale of products that frequently “melt” or “explode” owing to

no user error, or “a standard sales tax” on firearms. See Reply.5-6.

      In all events, Duncan ultimately “assume[d]” that the plaintiffs’ “proposed

conduct” there “[fell] within the plain text of the Second Amendment,” and

proceeded to resolve the case based on historical tradition. 2025 WL 867583, at *10.

Duncan thus provides no basis to disturb the district court’s textual analysis (or,

worse still, to send the case back down for still more consideration of an issue that

has already been exhaustively explored). To the contrary, Duncan provides ample

reason to affirm that analysis.

II.   Duncan Confirms That The Challenged Provisions Are Inconsistent With
      This Nation’s Historical Tradition Of Firearm Regulation.

      Duncan likewise provides no basis to disturb the district court’s conclusion

that the challenged UHA amendments are likely inconsistent with historical

tradition. Duncan “discern[ed] two distinct traditions”: (1) “laws seeking to protect

innocent persons from infrequent but devastating harm by regulating a component

necessary to the firing of a firearm”; and (2) “laws [enacted] to protect innocent

persons from especially dangerous uses of weapons once those perils have become

clear.” Id. at *17. The UHA does not fit within either. Again, handguns are not

merely “a component necessary to the firing of a firearm”; they are firearms. As for


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the second “tradition[]” the Court “discern[ed],” far from protecting people from

“especially dangerous uses” of handguns, the district court found as a matter of fact

that the CLI and MDM requirements operate to “keep out of [the people’s] hands

virtually all new, state-of-the-art handguns,” and the state has never argued that the

(now-postponed) microstamping requirement can be justified as a “safety” measure.

1-ER-17, 19. Nor has the state identified any other historical tradition that would

allow it to deem most new handguns too “unsafe” for commercial sale—let alone

one that would allow a state to ban the sale of these arms to ordinary citizens while

allowing most state employees to buy them at will, see Cal. Penal Code §32000(b).

And there is no reason to remand for still more historical investigation. California

has had ample opportunity to come up with historical analogues for its novel regime.

It has failed because none exist, as the district court correctly concluded.

      Duncan’s references to Rahimi, which was decided after briefing closed, also

support the district court’s analysis. See Duncan, 2025 WL 867583, at *11-12.

When analyzing whether 18 U.S.C. §922(g)(8) is consistent with historical tradition,

Rahimi did not start, as the state has here, by slotting the law into a broad or sweeping

abstract category focused only on the law’s aim at the highest level of generality

(e.g., public safety). It examined how the challenged law actually works—i.e., by

authorizing state actors to disarm someone only after a “judicial determination[]”

that the person “likely would threaten or had threatened another with a weapon,” and



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even then only for a “limited duration”—and compared that to how the government’s

proffered historical analogues worked. 602 U.S. at 699. That makes sense, since

the whole point of embracing a historical-tradition mode of analysis is to get courts

out of the business of making subjective assessments about how burdensome they

think a law is. And under that kind of analysis, the UHA is out on a regulatory island.

      Consider first the state’s proffered justifications for its CLI and MDM

requirements. For support, the state highlights two firearm inspection laws (i.e.,

“proving laws”) from Massachusetts and Maine. AG.Br.34-38. At the outset, Bruen

makes clear that two laws do not establish an “enduring American tradition,” 597

U.S. at 67, and Duncan says nothing to contradict that. Moreover, proving laws

were just quality-control regulations that, by the state’s own admission, “did not

impose safety requirements” that (as the UHA does) go “beyond” what

“manufacturers voluntarily buil[d] into a firearm.” AG.Br.38. To boot, the proving

laws precluded no one from buying any firearm; unlike the challenged UHA

provisions, they simply ensured that the particular arm being purchased would

function as expected and intended.       As the district court put it, then, “[t]he

difference[] between how and why these laws burden a law-abiding citizen’s right

to armed self-defense is evident.” 1-ER-17. Nothing in Duncan suggests otherwise.

      To be sure, Duncan found the historical gunpowder storage laws California

invokes in the alternative, see AG.Br.36-38, to be analogous to California’s ban on



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“large-capacity magazines.” Duncan, 2025 WL 867583, at *17. But it did so only

after emphasizing that such laws provide support for regulating a particular

“component necessary to the firing of a firearm” that can easily be replaced with

another commercially available component—not, as the state now seeks to employ

those storage laws, to justify a broad prohibition on the manufacture, importation,

and sale of handguns themselves. And Duncan does not (and could not) abrogate

the Supreme Court’s guidance on colonial gunpowder storage laws in Heller, which

explains that those laws “required only that excess gunpowder be kept in a special

container or on the top floor of the home,” and so did “not remotely burden the right

of self-defense” as compared to a law that, like the UHA, is effectively “an absolute

ban on handguns.” Heller, 554 U.S. at 632.

      As for the microstamping requirement, Duncan in no way supports the state’s

contention that microstamping and colonial-era gun-owner “registration and

taxation requirements” are one and the same. AG.Br.41. Unlike registration and

taxation requirements, which are easily adoptable and ubiquitous, microstamping is

still a theoretical technology that is not commercially available and has not been

adopted by a single manufacturer, much less en masse. Resp.Br.46. Accordingly, it

burdens the right to keep and bear arms by effectively prohibiting the manufacture,

importation, and sale of all modern handguns. Not even the state claims that the

colonial-era laws it invokes did that. Nor could it claim that Duncan endorses any



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such law, or that Duncan provides room for this panel to question the district court’s

factual finding, after a full hearing, that it is simply “not feasible to implement

[microstamping] technology broadly.” 1-ER-20; Resp.Br.46.2

       On top of all that, Duncan specifically disclaimed reliance on the “more

nuanced” approach that the state has claimed “is appropriate here.” AG.Br.32; see

Duncan, 2025 WL 867583, at *15 (“[W]e emphasize that the result in this case does

not hinge on this categorization.”). Of course, the state is wrong that this case

implicates the “more nuanced” approach Bruen discussed. As the state admits,

firearms have always had safety problems, see AG.Br.34, so there is nothing novel

here. Handguns are no “dramatic technological change,” and the risk that someone

might fire one under the mistaken impression that it is not loaded is nothing new.

But in all events, the district court did apply a “more nuanced” approach: It allowed

the state to try to “reason by analogy” to historical laws that are by no stretch of the

imagination “dead ringer[s]” for the UHA, Bruen, 597 U.S. at 30. See Resp.Br.31

n.4; id. at 33-47.




   2
      As noted supra, the microstamping requirement will not take effect now until
January 1, 2028, at the earliest. But that brief reprieve does not moot this case. See,
e.g., Decker v. Nw. Env’t Def. Ctr., 568 U.S. 597, 607-10 (2013); Ne. Fla. Chapter
of Associated Gen. Contractors of Am. v. City of Jacksonville, 508 U.S. 656, 662
(1993). Notably, the state’s 28(j) letter informing the Court of the post-argument
amendment did not argue otherwise.


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      To be sure, the district court did not lower the historical bar to the point of

blessing California’s prohibition on the manufacture, importation, and sale of all

modern handguns that lack the bespoke features the UHA requires. But nothing in

Duncan requires courts to do so. Nor could Duncan impose such a requirement

consistent with Supreme Court precedent. When Bruen referred to “dramatic

technological changes” or “societal concerns” that might require a “more nuanced

approach,” it was not concerned with technological developments that would

improve the accuracy, capacity, and functionality of modern handguns. On the

contrary, those are the types of technological changes law-abiding citizens want, as

they increase the chances of safely hitting one’s target and decrease the risk of

causing collateral or accidental damage. And yet, they are the very thing California

bans. See 1-ER-21 (noting that the handguns banned from California’s roster are

“more ergonomic, durable, reliable, affordable, and possibly even safer”).

Moreover, all firearms, regardless of their modernity, can cause accidents if not used

with the appropriate care. So if the government could ban any arm that might

“accidental[ly] discharge” due to user error, then it is hard to see what firearms it

could not ban. Tellingly, the problems California has with the myriad handguns it

labels “unsafe” could be said equally of the “quintessential self-defense weapon.”

But even the state cannot deny that handguns are protected by the Second




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Amendment, which suffices to foreclose its effort to ban all modern ones indirectly

via the UHA’s feature-specific restrictions.

                                  CONCLUSION

      This Court should affirm.

                                               Respectfully submitted,

                                               s/Erin E. Murphy
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                       CERTIFICATE OF COMPLIANCE

      I hereby certify that:

      1. This brief complies with this Court’s March 27 Order (Dkt.78) because it

contains 2,903 words, excluding the parts exempted by Federal Rule of Appellate

Procedure 32(f).

      2. This brief complies with the typeface requirements of Federal Rule of

Appellate Procedure 32(a)(5) and the typestyle requirements of Federal Rule of

Appellate Procedure 32(a)(6) because it has been prepared in a proportionally spaced

typeface using Microsoft Word 2016 in 14-point font.

      April 17, 2025

                                             s/Erin E. Murphy
                                             Erin E. Murphy
       Case: 23-55276, 04/17/2025, ID: 12927177, DktEntry: 83, Page 18 of 18




                          CERTIFICATE OF SERVICE

      I hereby certify that on April 17, 2025, I electronically filed the foregoing with

the Clerk of the Court for the United States Court of Appeals for the Ninth Circuit

by using the CM/ECF system. I certify that all participants in this case are registered

CM/ECF users and that service will be accomplished by the CM/ECF system.

                                              s/Erin E. Murphy
                                              Erin E. Murphy
